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                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

 IN RE:                                           §
                                                  §       CASE NO: 16-10992 (SMB)

 SUNEDISON, INC., et al.,                         §       CHAPTER 11
                                                  §       (Jointly Administered)
          Debtors.                                §



                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                RICHMOND DIVISION

 IN RE:                                           §
                                                  §       CASE NO: 19-00302 (KRH)

 OLD ANR, LLC, et al.,                            §       MISCELLANEOUS PROCEEDING
                                                  §
          Debtors.                                §
                                                  §


                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE:                                                §
                                                      §    CASE NO: 18-35672

WESTMORELAND COAL COMPANY, et al., §                       CHAPTER 11
                                   §                      (Jointly Administered)
                                   §
     Debtors.                      §


    UNITED STATES TRUSTEES’ STATEMENT IN SUPPORT OF SETTLEMENT
 AGREEMENT BETWEEN UNITED STATES TRUSTEE PROGRAM AND MCKINSEY &
             COMPANY, INC. AND CERTAIN OF ITS AFFILIATES

       Henry G. Hobbs, Jr., the Acting United States Trustee for Region 7, William K. Harrington,

the United States Trustee for Region 2, and John P. Fitzgerald, III, the Acting United States Trustee
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for Region 4 (collectively, the “USTP”), provide these statements in support of the Settlement

Agreement Between United States Trustee Program and McKinsey & Company, Inc. and Certain of

Its Affiliates filed on March 7, 2019 (the “Settlement”). For the following reasons, each of the

respective Courts should approve the Settlement.

I.      The Courts Should Approve the Settlement Because it is a Good Faith Compromise
        and is Reasonable.

        1.       The USTP has alleged that McKinsey 1 has failed to satisfy its disclosure obligations

under the Bankruptcy Code and Rules as an estate-retained professional and has repeatedly

demonstrated a lack of candor with the Courts and the USTP in connection therewith. By

approving the Settlement, each of the respective Courts will hold McKinsey accountable for its

conduct right now—and the parties thereby avoid both the delay and risks of protracted discovery

and litigation. It will also ensure a definitive consequence by requiring monetary payments that are

among the largest ever by a professional in connection with disclosure disputes under Rule 2014.

Most importantly, the Settlement neither excuses McKinsey from its obligation to be free from

conflicts, nor does it dictate that McKinsey’s employment be approved in the Westmoreland case.

Instead, the Settlement ensures that McKinsey will either make retention disclosures in compliance

with bankruptcy law (including in the Westmoreland case) or face further actions and potentially

more severe consequences in the future. Furthermore, it preserves the USTP’s ability to take action

if McKinsey is conflicted in any case (either in the past or in the future), and it preserves the rights

of all other interested parties to pursue whatever claims or causes of action they may have.




1
          “McKinsey,” “Mar-Bow,” and other terms not specifically defined herein shall have the meaning ascribed in
the Settlement.

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         2.       The Settlement was the product of a Court-ordered mediation before the Honorable

Marvin Isgur. 2 Based on his observations of the parties’ negotiations, Judge Isgur reported to these

Courts that “the proposed settlement between the United States Trustee and McKinsey resolves the

parties’ good faith disputes concerning the application of Bankruptcy Rule 2014.” See Mediator’s

Notice to Court, In re Westmoreland Coal Company, Case No. 18-35672, Docket No. 785.

         3.       The Settlement’s terms are reasonable and reflect a good faith compromise of the

disclosure-related disputes between McKinsey and the USTP that holds McKinsey accountable and

eliminates the uncertainty and delay of protracted discovery and litigation.

         4.       First, the Settlement requires McKinsey to pay $15 million in these three cases to

remedy inadequate disclosures of connections. The payment will be distributed to the creditors and

other parties in these cases in accordance with applicable law, including the reorganization plans

approved by these Courts. 3 This is one of the highest repayments made by a bankruptcy

professional for its alleged failure to comply with disclosure requirements.

         5.       Second, McKinsey must make additional disclosures in the pending Westmoreland

case that fully comply with bankruptcy law and otherwise demonstrate that it is eligible under

section 327 to be retained in that case. The Settlement expressly carves out and preserves the

rights of the Acting United States Trustee for Region 7 to contest the adequacy of any

supplemental disclosures that McKinsey will make in the Westmoreland case. 4 And it does not


2
         The USTP is grateful to Judge Isgur for the time and expertise he shared with all parties to the mediation.
Without his expert handling of strong disagreements between the parties, it is unlikely that a settlement could have
been reached.
3
         As with all mediated disputes, the agreed monetary allocation was the product of negotiation between the
parties. The Settlement requires McKinsey to make the monetary payments in these three open cases, thereby
obviating the need to reopen earlier cases that have been closed and fully administered years ago.
4
         To be clear, nothing in the Settlement endorses or approves the disclosure protocol that McKinsey intends to

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waive the Acting United States Trustee for Region 7’s rights to challenge McKinsey’s additional

disclosures in Westmoreland or otherwise challenge its retention.

         6.       Third, the Settlement is limited to resolving the USTP’s allegations that McKinsey

failed to make disclosures in accordance with Bankruptcy Rule 2014 or other applicable law, and it

contains critical safeguards applicable in both past and future cases. See Consent Order, Article III,

¶¶ 5-6. Importantly, if evidence later shows that McKinsey had actual conflicts of interest, or that

McKinsey made material omissions, misrepresentations, or engaged in fraud, the USTP may

undertake any additional action and seek appropriate relief in any case. 5 See Id. The Settlement

also does not release claims for the inadequacy of future disclosures. If McKinsey’s conduct

repeats, the USTP will seek even more stringent remedies.

         7.       Fourth, as is standard in most settlements, the Settlement contemplates mutual

releases between McKinsey and the USTP. McKinsey has never suggested that it holds any claim

against the USTP, and the claims that the USTP brought and that are being released under the

Settlement are limited to the USTP’s civil enforcement claims relating to McKinsey’s disclosure

compliance in these three open cases and in 11 other cases that are all closed, some as long as nine

years ago, in which there are no pending actions.

         8.       Finally, the Settlement does not bind or prejudice the rights and claims of any non-

settling third party, including the 14 bankruptcy estates named therein. The releases included in the

Settlement bind only the USTP and McKinsey. Specifically, the relevant release terms expressly



develop pursuant to a separate settlement agreement between the firm and the debtor in Westmoreland. Thus, approval
of the Settlement does not affect the validity of McKinsey’s contemplated process. Instead, the Acting United States
Trustee for Region 7 will evaluate McKinsey’s supplemental submissions in the same way that he does for any
professional retention applicant.
5
         In addition, the Settlement also expressly provides that “claims with respect to any criminal liability are not
released.” Consent Order, Article III, ¶ 10.
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state that only the USTP is releasing the relevant claims against McKinsey and that the releases do

not bind or prejudice any other party. Settlement, Article III, ¶ 10. Nothing in the Settlement

precludes Mar-Bow Value Partners, LLC (“Mar-Bow”) from continuing to prosecute its claims

against McKinsey, nor does it prevent any other non-party from pursuing whatever rights or claims

it may have against McKinsey. Similarly, no governmental entity is restricted in any way from

taking any action.

        9.       All of these reasons justify approval of the Settlement and the resolution of the

extant disputes between the USTP and McKinsey, which appear in the written record before these

Courts. 6 Even with estate causes of action—which are in no way compromised here—case law

establishes that “it is unnecessary to conduct a mini-trial to determine the probable outcome of any

claims waived in the settlement. ‘The judge need only apprise himself of the relevant facts and law

so that he can make an informed and intelligent decision.’” Official Comm. of Unsecured

Creditors v. Cajun Elec. Power Coop. (In re Cajun Elec. Power Coop.), 119 F.3d 349, 356 (5th

Cir. 1997) (quoting La Salle Nat’l Bank v. Holland (In re American Reserve Corp.), 841 F.2d 159,

163 (7th Cir. 1987)).

II.     The Courts Should Decline Modifications Based on Mar-Bow’s “Limited” Objection.

        10.      Mar-Bow has asserted a “limited” objection to the Settlement (the “Limited

Objection”). Unfortunately, Mar-Bow fundamentally misunderstands and misconstrues important


6
        The USTP requests that pursuant to Fed. R. Evid. 201 (made applicable herein under Fed. R. Bankr. P. 9017),
the Courts take judicial notice of the pleadings evidencing these disputes, including:
        (1) Comments of United States Trustee Regarding McKinsey RTS’s Opposition to Mar-Bow Partners, LLC’s
              (I) Motion to Reopen Case and (II) Motion for Relief from Judgments and for Indicative Ruling, In re
              Alpha Natural Resources, Inc., Case No. 15-33896, Docket No. 4164; and
        (2) Acting United States Trustee’s (1) Objection to Debtors’ Application for Entry of an Order Authorizing
              The Retention And Employment Of McKinsey Recovery & Transformation Services U.S., LLC as
              Performance Improvement Advisors to the Debtors Nunc Pro Tunc to the Petition Date; and (2) Response
              to Court’s Order Dated November 30, 2018, In re Westmoreland Coal Company, Case No. 18-35672,
              Docket No. 785.
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elements of the Settlement, which leads it to mistakenly conclude that modifications to the

Settlement are warranted.

       11.     Mar-Bow first seeks to impose broad and sweeping additional language into the

Settlement purporting to make “crystal clear” that Mar-Bow’s rights and claims are not prejudiced

as a result of the Settlement. See, e.g., Westmoreland Objection at ¶ 4. It proposes to impose an

additional provision comprising not less than five different sub-parts that essentially restates in a

very complicated and confusing manner that Mar-Bow’s rights and claims are unaffected by the

Settlement. Mar-Bow does not argue that the Settlement is vague or unclear as to its impact on

third parties. Instead, it argues that the Settlement is not clear enough for Mar-Bow.

       12.     While the USTP understands Mar-Bow’s desire to vigorously protect its rights,

Mar-Bow has not articulated any substantive reason justifying its requested change. In fact, Mar-

Bow’s Limited Objection even posits that its requested changes are “clarifications” and does not

argue that the Settlement prejudices non-party rights, but instead asserts that it wants to make

“crystal” clear that Mar-Bow’s rights and claims in particular are not prejudiced. See Id.

Incorporating the suggested changes injects uncertainty and may lead to potential litigation by

suggesting that the rights of non-parties other than Mar-Bow are somehow altered. The existing

carve-out language in the Settlement is crystal clear in stating simply and directly that the

Settlement does “not bind or prejudice the rights and claims of any non-party,” which would

include the rights and claims of Mar-Bow.

       13.     The other clarification requested by Mar-Bow relates to its desire to alter terms

relating to the payments contemplated under the Settlement. Mar-Bow argues that the parties to

the Settlement are improperly dictating the manner in which the “sanctions” are distributed. This is

simply not the case. The only thing being submitted for the Courts’ review and approval is a joint

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consent order that embodies the USTP’s and McKinsey’s agreement. Mar-Bow posits that the

parties are asking the Courts to independently enter sanctions against McKinsey and therefore

argues that the payment of those sanctions is subject to the discretion of the Courts. Unfortunately,

Mar-Bow’s premise is fundamentally wrong as it conflates judicially imposed sanctions with the

administration of settlement proceeds. See Id. at ¶ 8.

           14.      The parties have submitted the Settlement to the Courts for their review and

approval as the product of the Court-ordered mediation. By its terms, the Settlement only seeks to

have continuing jurisdiction of the Courts for enforcement and interpretation should disputes

relating to the Settlement arise between the USTP and McKinsey, and to document the resolution

of pending contested matters relating to the USTP’s pending objections in the ANR and

Westmoreland bankruptcy cases. 7 Most importantly, the Settlement is being submitted to ensure

transparency in the resolution of those contested matters. However, the Settlement is not presented

as a Bankruptcy Rule 9019 motion, as it does not resolve any claims of the bankruptcy estate or, as

explained above, affect any rights of non-settling third parties.

           15.      Mar-Bow’s position that the parties are improperly “dictating the distribution” of the

payments required in Paragraph 3 of the Consent Order is also wrong because the Settlement

contemplates nothing more than that the funds be distributed as required by applicable law. There

are controlling plans in these cases, which mandate the treatment and distribution of estate

property. Moreover, the Settlement provides that if applicable law warrants that the payments be

distributed in some other fashion than under the confirmed plan, then the funds will be so

distributed.




7
    And while no formal pleadings were filed, the issues were joined in the SunEdison case as well.
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       16.         Although Mar-Bow’s objection is purportedly limited to two points of clarification,

two of Mar-Bow’s most patent inaccuracies in the Limited Objection require correction.

       17.     First, Mar-Bow’s Limited Objection asserts that the Settlement “violates” Rule 2014

by “illegally excusing” McKinsey from disclosing its confidential clients. E.g., Westmoreland

Objection at ¶ 16. The Settlement does nothing even remotely consistent with that assertion.

McKinsey will file new disclosures in the Westmoreland case and, as expressly stated in the

Settlement, the Acting United States Trustee for Region 7 has every right to object to those

disclosures should they be inadequate, incomplete, misleading, or improper. Proposed Consent

Order at ¶ 9(a).

       18.     Second, Mar-Bow also appears to argue that the Settlement should be submitted to

every bankruptcy court in which McKinsey was ever retained for review and approval. Here, too,

Mar-Bow’s position is patently wrong. Mar-Bow puzzlingly posits, without any authority, that if a

party makes a reasoned determination to release potential claims, it is “illegal” if the party does not

submit its decision to forego those possible claims to the courts in which the claims may have been

asserted. Thus, Mar-Bow asserts that the Settlement “illegally deprives” bankruptcy judges in

long-closed cases—where no disputes are even pending between the USTP and McKinsey as the

only parties to the Settlement—of their “authority and responsibility” to review the Settlement.

Westmoreland Objection at ¶ 18; Old ANR Objection ¶ 19; SunEdison Objection ¶ 17. No party

requires a court’s approval to release its own claims when there is no pending dispute or contested

matter before the court. Unlike these three bankruptcy cases in which the Settlement was filed

because the issues have been joined between the parties, there is no reason—much less an

obligation—to submit the Settlement in long-closed cases where there are no pending disputes.



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        19.    In sum, Mar-Bow’s requested “clarifications” to the Settlement are unnecessary and

inappropriate. And its musings on the propriety of the Settlement should be ignored both based on

their inaccuracy and because Mar-Bow expressly states that they do not comprise an objection to

the Settlement. Westmoreland Objection ¶ 12; Old ANR Objection ¶ 14; SunEdison Objection

¶ 12.

III.    The Settlement Should be Approved Notwithstanding McKinsey’s Characterizations
        of its Conduct.

        20.    The reasons stated herein provide ample bases for the Courts to approve the

Settlement. McKinsey has nevertheless sought to excuse past violations as the product of a mere

misunderstanding. See McKinsey’s Response to Mar-Bow’s Motion [Dkt. 1585] to (I) Reconsider

the Court’s Order Granting the Joint Motion in Furtherance of Mediation Agreement [Dkts. 1422,

1423, 1427] and (II) Set a Hearing Regarding Discovery on Mar-Bow’s Amended Objection to the

Debtors’ Application to Employ McKinsey RTS, In re Westmoreland Coal Company, Case No. 18-

35672, Docket No. 1659 at pp. 17-21. To dispel any doubt, the USTP has historically taken the

position that: (1) bare identification of connections as “confidential clients” does not satisfy Rule

2014; and (2) the duty to disclose connections reaches all affiliates unless the professional firm can

establish that the affiliates are sufficiently separate and that there are appropriate information

barriers, especially with respect to investments.

        21.    Moreover, McKinsey’s conduct only reinforces the need for a prompt settlement.

As the USTP has alleged in its filings in these cases, McKinsey has failed to be candid with the

Courts and USTP. For example, after agreeing in the ANR case that it would disclose “confidential

client” names, McKinsey turned around and asserted in Westmoreland that it did not need to

provide any information—not even under seal—about a client responsible for 17.5 percent of the


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annual revenues of McKinsey RTS. Approving the Settlement allows the Courts to impose

accountability now while preserving the right of further action if new facts emerge showing an

impermissible conflict or if McKinsey repeats its unacceptable practices of non-disclosure in the

future.

IV.       Conclusion.

          22.   The terms of the Settlement, the extensive legal and factual records before these

Courts, and the totality of the facts and circumstances easily provide these Courts with the

necessary basis to approve the Settlement. Doing so will hold McKinsey accountable for its

conduct, promote transparency, and instill public confidence in the bankruptcy system.

          WHEREFORE, for the reasons above, each of the respective Courts should approve the

Settlement and grant any other relief as may be just and appropriate.



                                              Respectfully submitted,

                                              John P. Fitzgerald, III
                                              Acting U.S. Trustee – Region Four



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